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                 EXHIBIT 3
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 1   Hung G. Ta, (SBN 331458)
     JooYun Kim, pro hac vice
 2   Hung G. Ta., Esq. PLLC
     250 Park Avenue, 7th Floor
 3   New York, NY 10177
     Tel: (646) 453-7288
 4   hta@hgtlaw.com
     jooyun@hgtlaw.com
 5
     Co-Lead Counsel and Counsel to
 6   Plaintiffs Pumaro LLC, Artiom Frunze,
     Hayden Hsiung, and Gijs Matser
 7

 8                           UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
10

11                                             Master File No. 17-cv-06779-RS
     IN RE TEZOS SECURITIES LITIGATION
12                                             CLASS ACTION
13   This document relates to:                 DECLARATION OF HUNG G. TA IN
                                               SUPPORT OF LEAD COUNSEL’S
14          ALL ACTIONS.                       MOTION FOR AN AWARD OF
                                               ATTORNEYS’ FEES AND LITIGATION
15                                             EXPENSES AND CHARGES
16
                                               Date:        August 27, 2020
17                                             Time:        1:30 p.m.
                                               Courtroom:   3, 17th floor
18                                             Judge:       Hon. Richard Seeborg
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     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF HUNG G. TA
                Case 3:17-cv-06779-RS Document 257-3 Filed 07/28/20 Page 3 of 18



 1              I, Hung G. Ta, Esq., pursuant to 28 U.S.C. § 1746, hereby declare as follows:

 2         1.          I am admitted to practice law in the State of California and in the Northern District

 3   of California. I am the principal and Managing Director of the law firm Hung G. Ta, Esq. PLLC

 4   (“HGT Law”), Co-Lead Counsel for the Settlement Class and counsel to named Plaintiffs Pumaro

 5   LLC, Artiom Frunze, Hayden Hsiung, and Gijs Matser in this Action.1 I respectfully submit this

 6   declaration in support of Lead Counsel’s Motion for an Award of Attorneys’ Fees and

 7   Reimbursement of Litigation Expenses.

 8         2.          I have personally participated in, overseen, and monitored the prosecution of this

 9   Action, and have otherwise been kept informed of developments in this litigation by attorneys

10   working with me and under my supervision. Thus, if called upon, I can testify to the matters set

11   forth herein.

12         3.          HGT Law has prosecuted this litigation solely on a contingent-fee basis, and has

13   been at risk that it would not receive any compensation for prosecuting claims on behalf of the

14   Settlement Class. While HGT Law devoted its time and resources to this matter, it has foregone

15   other legal work for which it would have been compensated.

16         4.          As Co-Lead Counsel from the commencement of this Action, HGT Law was

17   involved in all aspects of the litigation and its settlement as set forth in the Declaration of Jeffrey

18   C. Block in Support of: (1) Lead Plaintiff’s Motion for Final Approval of Class Action Settlement

19   and Plan of Allocation; and (2) Lead Counsel’s Motion for an Award of Attorneys’ Fees and

20   Reimbursement of Litigation Expenses. The background and experience of professionals at HGT

21   Law are summarized in the firm resume attached hereto as Exhibit A.

22         5.          As Co-Lead Counsel from the commencement of this Action, HGT Law

23   researched, drafted and filed the Consolidated Complaint filed in this Action (ECF No. 108). HGT

24   Law then opposed Defendants’ motions to dismiss the Action (ECF Nos. 131 to 135). HGT Law

25   was involved in all aspects of discovery, including drafting and serving discovery requests on

26
     1
27           Unless otherwise indicated, capitalized terms shall have the meaning ascribed to them in the Stipulation of
     Settlement, dated March 16, 2020 (“Settlement Agreement” or “Stipulation”) (ECF No. 246-1), and in Lead Plaintiff’s
28   Notice of Motion, Motion for Preliminary Approval of Settlement, and Memorandum of Points and Authorities in
     Support Thereof, ECF No. 246.

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     DECLARATION OF HUNG G. TA
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 1   Defendants and on various third parties; negotiating the scope of production by Defendants and

 2   the third parties; working with Plaintiffs to respond to numerous document requests,

 3   interrogatories and requests for admission propounded by Defendants; reviewing the more than

 4   20,000 pages of documents produced by Defendants and third parties; meeting and conferring

 5   telephonically and in writing with Defendants’ counsel to resolve discovery disputes; filing

 6   discovery motions (ECF Nos. 219 and 231); and preparing and attending the full-day depositions

 7   of certain of the Plaintiffs. HGT Law interviewed and consulted with experts regarding the

 8   operations of blockchain technologies. HGT Law drafted and filed a motion for class certification

 9   (ECF Nos. 193-194). HGT Law also was involved in all aspects of the settlement negotiations

10   with Defendants, including preparing written submissions for, and attending, both the first

11   mediation on December 14, 2018 conducted by Professor Eric Green, and the second mediation

12   on November 22, 2019 conducted by the Honorable Layn Philips. In all of these efforts, HGT Law

13   assigned specific tasks to, and monitored and coordinated the work of, the law firms of LTL

14   Attorneys LLP (Court-appointed Co-Lead Counsel from March 2018 to April 2019), the Restis

15   Law Firm, P.C., and Lite DePalma Greenberg, LLC.

16         6.            Attorneys and professional support staff at my firm billed the following aggregate

17   hours to this matter as of the date of filing, with fees applied at the firm’s current billing rates:

18                       Timekeeper       Type       Hours       Hourly Rate            Total

19
                 H. G. Ta                  P        2115.50        $895.00           $1,893,373
20
                 JY Kim                    SC       1225.55        $725.00            $888,524
21

22               N. Williams               SC       143.00         $725.00            $103,675

23
                 A. Ni                     C        402.00         $650.00            $261,300
24
                 P. Chen                   C        137.50         $650.00            $89,375
25

26               T. Tang                   PL        62.00         $150.00             $9,300

27               Total                                                               $3,245,546

28
             P = Partner; SC = Senior Counsel; C = Counsel; A = Associate; PL = Paralegal
     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF HUNG G. TA
               Case 3:17-cv-06779-RS Document 257-3 Filed 07/28/20 Page 5 of 18



 1        7.        Attached hereto as Exhibit B is a chart detailing the work described in Paragraph

 2   5 above, with total hours and lodestar broken out by task category. I believe that all of the time

 3   reflected in these charts was reasonable and necessary to achieve the successful result in this case.

 4        8.        HGT Law has expended a total of $56,292.47 in unreimbursed costs and expenses

 5   in connection with the prosecution of this Action. A summary of these costs and expenses is set

 6   forth below. They were incurred by HGT Law on behalf of Plaintiffs on a contingent basis, and

 7   have not been reimbursed. These expenses are reflected in the books and records of HGT Law.

 8   These books and records are prepared from receipts, check records and other source materials, and

 9   represent an accurate record of the expenses incurred:

10                                            Category                      Expense

11
                        Expert Witnesses                                    $1,750.00
12
                        Travel (Flights, Lodging, Meals)                   $36,063.63
13

14                      Document Review Software                             $69.49

15
                        Legal Research                                        $5.00
16
                        Mediation Fees                                     $16,606.51
17

18                      Court Reporters / Depositions                       $1,461.08

19                      Printing                                             $283.96

20
                        Process Servers                                       $0.00
21
                        Shipping & Postage                                   $52.80
22

23                      Total Expenses                                     $56,292.47

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     DECLARATION OF HUNG G. TA
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 1          I declare under penalty of perjury that the foregoing is true and correct.

 2          Executed on this 27th day of July 2020, at New York, New York.

 3                                                          /s/ Hung G. Ta ______
                                                     Hung G. Ta (SBN 331458)
 4                                                   JooYun Kim, pro hac vice
                                                     Hung G. Ta., Esq. PLLC
 5                                                   250 Park Avenue, 7th Floor
                                                     New York, NY 10177
 6                                                   Tel: (646) 453-7288
                                                     hta@hgtlaw.com
 7                                                   jooyun@hgtlaw.com
 8                                                   Co-Lead     Counsel     and    Counsel to
                                                     Plaintiffs Pumaro LLC, Artiom Frunze,
 9                                                   Hayden Hsiung, and Gijs Matser
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     DECLARATION OF HUNG G. TA
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EXHIBIT A
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     Attorney and Law Firm Resume




           250 Park Avenue, Seventh Floor, New York, New York 10177
                 T: +1 (646) 453-7288    F:+1 (646) 453-7289
                               www.hgtlaw.com
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                                      FIRM OVERVIEW

       Hung G. Ta, Esq. PLLC (“HGT Law”) is a boutique commercial litigation firm which

serves the needs of U.S. and international clients, including clients from Asia and Australia. The

firm represents both institutions and individuals. The firm’s practice focuses on assisting clients

who have suffered losses arising from misconduct such as securities fraud and other violations of

federal and state securities laws; breaches of fiduciary duty by corporate directors and officers

(e.g., improper related party transactions between companies and their controlling shareholders,

insider trading by company directors and officers, failure of oversight by directors and officers,

undisclosed and improper executive compensation, waste of corporate assets, and other corporate

governance violations); breach of contract; and business torts.




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                                  REPRESENTATIVE CASES

The following are representative cases of HGT Law:

   Bölling, et al. v. Dendreon Corp., et al., No. 13-cv-00872 (W.D. Wash.) – an opt-out securities
    fraud lawsuit on behalf of a group of investors of Dendreon Corporation;

   Kocen v. Chopra, et al., C.A. No. 11291-VCL (Del. Ch.) – a shareholder derivative lawsuit
    against OSI Systems, Inc. for breaches of fiduciary duty in connection with the company’s use
    of unauthorized parts in security equipment for the government, a near total debarment from
    performing any work for the government and the cancellation of two separate federal
    government contracts;

   Burbrink v. Campbell, et al., No. 15-cv-00377 (W.D. Wash.) – a shareholder derivative lawsuit
    against Nordstrom, Inc., challenging various related party transactions between Nordstrom and
    the controlling Nordstrom family;

   Diep v. Sather, et al., C.A. No. 12760-VCL (Del. Ch.) – a shareholder derivative lawsuit
    against directors, officers and controlling stockholders of El Pollo Loco Holdings, Inc. for
    breaches of fiduciary duties in connection with certain, alleged insider trading profits;

   In re McKesson Corp. Derivative Litigation., No. 4:17-cv-01850-CW (N.D. Cal.) – reached
    settlement in a shareholder derivative lawsuit against the board of directors and senior officers
    of McKesson Corporation in connection with breaches of fiduciary duty of oversight with
    respect to the company’s sale of opioid drugs and controlled substances;

   Reynolds v. Dow Chemical Co., C.A. No. 2017-0203-JRS (Del. Ch.) – a shareholder derivative
    lawsuit concerning the improper reporting of improper reporting of significant amounts of
    personal expenses incurred by the CEO of Dow Chemical Co.;

   Kohl v. Trans High Corporation, Index No. 655200/2016 (N.Y. Sup. Ct. N.Y. Co.) – obtained
    summary judgment as to liability on behalf of the former CEO of Trans High Corporation
    against the company for breach of his employment agreement;

   Colonial First State Investments Limited, et al. v. Valeant Pharmaceuticals International, Inc.,
    et al., No. 18-cv-00383 (D. N.J.) – an opt-out securities fraud lawsuit brought on behalf of
    certain investment funds against Valeant Pharmaceuticals International, Inc. and its senior
    officers for allegedly perpetrating a fraudulent scheme to inflate the company’s revenues and
    profits;

   In re Tezos Securities Litigation, No. 17-cv-06779 (N.D. Cal.) – court-appointed co-lead
    counsel in a class action brought on behalf of investors in the July 2017 Tezos blockchain ICO
    against Dynamic Ledger Solutions, Inc., Tezos Stiftung, Kathleen Breitman and Arthur
    Breitman for failing to register the ICO with the SEC in violation of the Securities Act of 1933;

   Kocen v. Chopra, et al., No. 19-cv-01741 (C.D. Cal.) – a shareholder derivative lawsuit against
    certain directors and officers OSI Systems, Inc. for abdicating their fiduciary duty of oversight
    with respect to the company’s turnkey contract with the Government of Albania, where such
                                                                                          2|Page
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    contract was procured under suspicious circumstances and 49% of the company’s interest in
    the project was transferred for less than $5.00 consideration;

   City of Monroe Employees’ Retirement System v. Murdoch, et al., C.A. No. 2017-0833-AGB
    (Del. Ch.) – reached a $90 million settlement in a shareholder derivative lawsuit against certain
    directors and officers of Twenty-First Century Fox, Inc. for breaches of fiduciary duty in
    connection with sexual harassment and racial discrimination incidents at Fox News




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                                         ATTORNEY BIOGRAPHIES

HUNG G. TA: Hung G. Ta is the founder and managing director of HGT Law.                Bar Admissions:
Prior to starting the firm, Mr. Ta practiced as a litigation attorney for more than    State of New York
eleven years at the law firms of Milbank Tweed Hadley & McCloy LLP and                 State of California
Grant & Eisenhofer P.A. Before that, Mr. Ta clerked with the Honorable                 Second Circuit Court of Appeals
Justice Mary Gaudron of the High Court of Australia.                                   Third Circuit Court of Appeals
                                                                                       Ninth Circuit Court of Appeals
Mr. Ta’s practice focuses on helping investors recover losses as a result of
                                                                                       Southern District of New York
misconduct such as: securities fraud; breaches of fiduciary duty by corporate
                                                                                       Eastern District of New York
directors and officers and other corporate governance violations; breach of
                                                                                       Northern District of California
contract; and business torts.
                                                                                       Central District of California
Mr. Ta has litigated and settled many securities fraud cases (both class actions       New South Wales, Australia
and direct, opt-out actions), including In re Shuffle Master, Inc. Sec. Litig.; In
re Am. Dental Partners, Inc. Sec. Litig.; Bölling, et al. v. Dendreon Corp., et        Education:
al.; Colonial First State Inv. Ltd. v. Valeant Pharm. Int’l, Inc., et al.; and In re   University of New South Wales,
Tezos Securities Litigation.                                                                 LL.B.
                                                                                       University of New South Wales,
In addition, Mr. Ta has litigated and settled significant cases alleging breaches            B.Com.
of fiduciary duty by corporate directors and officers, such as In re Del Monte
Foods Co. Shareholder Litig. (in which the Delaware Chancery Court issued a            Contact:
landmark opinion upholding the need for corporate advisors to disclose their           Tel: (646) 453-7290
conflicts of interest and for boards to oversee their advisors); Kocen v. Chopra,      Email: hta@hgtlaw.com
et al. and Steinberg v. Bryant, et al. (claims against boards of directors and
officers for failure to discharge their duty of oversight); and Reynolds v. Dow
Chemical Co. and Burbrink v. Campbell, et al. (shareholder derivative actions
challenging related party transactions between companies and their controlling
shareholders/ directors/ officers, and the failure by a company’s board to
adequately disclose executive perquisites).
Mr. Ta has represented clients in numerous other general commercial litigation
contexts, including litigating claims of a former CEO against his company for
breach of an employment contract (Kohl v. Trans High Corporation); litigating
claims on behalf of a hedge for professional malpractice against a major
accounting firm (GoldenTree Asset Management LP v. BDO Seidman LLP);
and litigating claims for malpractice against a law firm in connection with a
real estate transaction.




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JOOYUN KIM: JooYun Kim is a senior counsel and practices in general                  Bar Admissions:
commercial litigation, securities litigation and corporate governance. Ms. Kim       State of New York
has litigated and settled cases on behalf of investors in opt-out securities fraud   State of New Jersey
actions, and derivative actions for breaches of fiduciary duties. Ms. Kim has        Second Circuit Court of Appeals
also represented clients in commercial disputes involving breaches of contract       Third Circuit Court of Appeals
and fraud.                                                                           Ninth Circuit Court of Appeals
                                                                                     Southern District of New York
Ms. Kim previously was a senior litigation associate at Fox Horan & Camerini
                                                                                     Eastern District of New York
LLP where she represented international and U.S. clients in cases involving
                                                                                     District of New Jersey
corporate governance under domestic and foreign law, breach of contract
disputes, and corporate fraud. Before that, Ms. Kim was a litigation associate
                                                                                     Education:
at Milbank Tweed Hadley & McCloy where she focused on securities fraud
                                                                                     New York University, J.D.
matters and other complex commercial litigation cases, including the
                                                                                     Amherst College, B.A.
representation of investment advisers, issuer companies, officers and directors,
and an insurance company.                                                            Contact:
Among other matters, Ms. Kim has represented:                                        Tel: (646) 453-7292
                                                                                     Email: jooyun@hgtlaw.com
   a prominent international sports association in a breach of contract dispute
    with a major sponsor;
   a company against claims for civil RICO violations, in which a favorable
    opinion was obtained from the U.S. Supreme Court; British Virgin Islands
    companies seeking to establish their interests in a Latin American
    telecommunications conglomeration;
   various directors and officers against claims for breach of contract, fraud,
    breach of fiduciary duty and conversion;
   companies and individuals in bankruptcy-related adversarial proceedings
    and clawback actions; and
   a foreign attorney in successfully defending a legal malpractice action
    through a bench trial and appeal to the Second Circuit.




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NATALIA WILLIAMS: Natalia Williams is a senior counsel and practices in the       Bar Admissions:
areas of general commercial litigation, securities litigation and corporate       State of New York
governance. Prior to joining the firm, Ms. Williams was a litigation associate    Southern District of New York
at Grant & Eisenhofer P.A. where she worked on cases involving violations of      Eastern District of New York
the securities laws, corporate governance matters, and class action litigation.
Ms. Williams was part of the litigation teams on a number of prominent cases      Education:
including In re Barnes & Noble Stockholders Derivative Litig.; In re Alstom SA    New York University, J.D.
Sec. Litig.; and In re Global Cash Access Holdings Sec. Litig.                    Grinnell College, B.A.

Ms. Williams began her career as an attorney at Legal Services of New York
                                                                                  Contact:
where she was a Senior Attorney in the Family Law division and handled trials
                                                                                  Tel: (646) 453-7291
in New York Supreme Court and Family Court.
                                                                                  Email: natalia@hgtlaw.com
Ms. Williams is admitted to practice law in the State of New York. She is also
admitted to practice law in the Southern District of New York and the Eastern
District of New York. Ms. Williams earned her J.D. from New York University
School of Law and following graduation received a Legal Fellowship at the
United Nations Development Programme. She received her B.A. from Grinnell
College.




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ANGUS NI: Mr. Ni is one of a handful of U.S. attorneys practicing complex         Bar Admissions:
commercial litigation, who is also fluent in Mandarin. Mr. Ni advises investors   State of New York
and companies in a variety of litigation and legal risk-management matters,       State of Washington
with a particular expertise in securities litigation risk for cryptocurrency
startups and listed companies.                                                    Education:
                                                                                  University of Chicago, J.D.
Prior to becoming Of Counsel to HGT Law, Mr. Ni was a litigator at Bernstein
                                                                                  University of Toronto, B.A.
Litowitz Berger & Grossman LLP, one of the leading shareholder rights law
firms in the U.S., where he litigated numerous securities class actions against
                                                                                  Contact:
U.S. listed corporations on behalf of hedge fund and pension fund investors.
                                                                                  Tel: (646) 453-7294
These actions ranged across a multitude of industries, were before diverse
                                                                                  Email: angus@hgtlaw.com
jurisdictions throughout the U.S., and involved both domestic and international
discovery.
Earlier in his career, Mr. Ni also practiced as an associate in the litigation
department of a major transnational law firm, where he participated in complex
arbitrations before the International Chamber of Commerce (ICC) and World
Bank Investment Treaty (ICSID) Tribunals, and in large-scale corporate
investigations in several jurisdictions.




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PETER CHEN: Mr. Chen is an experienced corporate lawyer who has                   Bar Admissions:
represented clients in highly regulated industries in litigation and regulatory   State of New York
matters.
                                                                                  Education:
Prior to becoming Of Counsel to HGT Law, Mr. Chen was an associate at
                                                                                  University of Chicago, J.D.
Debevoise & Plimpton LLP in New York. He represented banks, insurance
                                                                                  Dartmouth College, A.B.
companies, funds, and other regulated entities in complying with the Dodd-
Frank Act and other federal laws and regulations, including those of the SEC
                                                                                  Contact:
and CFTC. Representative matters include advising a U.S. CFTC registered
                                                                                  Email: peter@hgtlaw.com
swap dealer subsidiary of a foreign bank in establishing a Volcker Rule
compliance program, developing restructuring and cross-border resolution
planning strategy for a major U.S. insurance company in the preparation of a
Resolution Plan under section 165 of the Dodd-Frank Act, and defending a
major mortgage-backed securities originator in litigation arising from certain
investments it originated.




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EXHIBIT B
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                                                                                   In re Tezos Securities Litigation
                                                                                       Time and Billing by Category
                                                                                     Inception through July 26, 2020
                                                                                        HUNG G. TA, ESQ. PLLC
      Timekeeper            Position             A            B           C          D        E           F          G         H           I         J         Total          Hourly Rate        Lodestar
H. G. Ta              Managing Director              127.50               185.00     64.50    82.00        724.50    139.50    473.50     251.50     67.50     2,115.50   $         895.00   $     1,893,373
JY Kim                Senior Counsel                  83.75                72.00     94.25    72.00        317.75     11.50    382.05     190.25       2.00    1,225.55   $         725.00   $       888,524
N. Williams           Senior Counsel                   5.00                 0.25       1.00                111.00      4.75     14.25        6.75                143.00   $         725.00   $       103,675
A. Ni                 Counsel                         55.00                          39.00     82.00       107.50               69.60      48.90                 402.00   $         650.00   $       261,300
P. Chen               Counsel                          4.40                10.50       4.40     8.30        62.50      6.40      4.50      12.50      24.00      137.50   $         650.00   $        89,375
T. Tang               Paralegal                                                      62.00                                                                        62.00   $         150.00   $         9,300




Grand Total                                        275.65          -      267.75    265.15    244.30      1,323.25    162.15    943.90    509.90      93.50    4,085.55   $         794.40   $     3,245,546
 % of Total Hours                                    6.7%         0.0%      6.6%      6.5%      6.0%         32.4%      4.0%     23.1%     12.5%       2.3%
 Lodestar                                 $       217,066 $        -   $ 224,781 $ 164,294 $ 184,285 $   1,069,771 $ 140,794 $ 759,265 $ 407,828 $   77,463 $ 3,245,546
 % of Lodestar                                       6.7%         0.0%      6.9%      5.1%      5.7%         33.0%      4.3%     23.4%     12.6%       2.4%


                         Category Key
 A = Investigation, Research, Complaints
 B = TRO / Preliminary Injunction / Service
 C = Leadership / Intervention Motions
 D = Case Management, Client Updates
 E = Ongoing Research
 F = Non-Discovery Motions and Briefing
 G = Discovery Negotiations, Disputes, Briefing
 H = Discovery / Document Review
 I = Settlement Negotiations
 J = Settlement Approval, Class Member Communications
